     Case 8:22-cv-01165-SDM-AEP Document 11 Filed 06/24/22 Page 1 of 2 PageID 32




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

                             Case No. 8:22-cv-01165-SDM-AEP

LINDA ANNA RUBINO,
An Individual,

        Plaintiff,
v.

BRANDON AUTOMOTIVE MANAGEMENT LLC d/b/a
BRANDON HONDA,
a Florida limited liability company,

      Defendant.
______________________________/

                              NOTICE OF SETTLEMENT

           Plaintiff, Linda Rubino, through undersigned counsel, hereby notifies the

     Court that a settlement has been reached as to Defendant. Plaintiff asks the Court to

     retain jurisdiction and anticipates filing a stipulation for dismissal with prejudice

     within (30) days.

      Dated: June 24, 2022               Respectfully submitted,

                                         /s/ Darren R. Newhart
                                         Darren R. Newhart, Esq.
                                         FL Bar No: 0115546
                                         E-mail: darren@newhartlegal.com
                                         NEWHART LEGAL, P.A.
                                         14611 Southern Blvd. Suite 1351
                                         Loxahatchee, FL 33470
                                         Telephone: (561) 331-1806
                                         Facsimile: (561) 473-2946
  Case 8:22-cv-01165-SDM-AEP Document 11 Filed 06/24/22 Page 2 of 2 PageID 33




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

June 24, 2022, via the Clerk of Court’s CM/ECF system. I further certify that the

foregoing has been sent via electronic transmission to all counsel on the service list

below.

                                     /s/ Darren R. Newhart
                                     Darren R. Newhart, Esq.

                                  SERVICE LIST

All counsel of record.
